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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1773V
                                         UNPUBLISHED


    MARTHA JANE RITCHIE,                                      Chief Special Master Corcoran

                         Petitioner,                          Filed: December 10, 2019
    v.
                                                              Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                   Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                           Table Injury; Influenza (Flu) Vaccine;
                                                              Guillain-Barre Syndrome (GBS)
                        Respondent.


Anthony P. Ellis, Ellis Law Group, PLLC, Louisville, KY, for petitioner.

Colleen Clemons Hartley, U.S. Department of Justice, Washington, DC, for respondent.

                                     RULING ON ENTITLEMENT1

        On November 16, 2018, Martha Jane Ritchie filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq.,2 (the “Vaccine Act”). Petitioner alleges that she suffered Guillain-Barré Syndrome
(“GBS”) as a result of an influenza (“flu”) vaccine she received on November 14, 2017.
Petition at Introduction, ¶ 2. The case was assigned to the Special Processing Unit of
the Office of Special Masters.

       On December 10, 2019, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule
4(c) Report at 1. Specifically, Respondent states that “petitioner’s alleged GBS is

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  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the ruling will be available to anyone with access to
the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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consistent with the Vaccine Injury Table for GBS following the seasonal flu vaccination.
It is respondent’s position that petitioner has satisfied the criteria set forth in the Vaccine
Injury Table (Table) and the Qualifications and Aids to Interpretation (QAI), which afford
petitioner a presumption of causation if the onset of GBS occurs between three and
forty-two days after a seasonal flu vaccination and there is no apparent alternative
cause.” Id. at 4. Respondent further agrees that Petitioner’s records show that she
suffered the sequela of her injury for more than six months after vaccination. Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                    s/Brian H. Corcoran
                                    Brian H. Corcoran
                                    Chief Special Master




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